This is an appeal from a default judgment and from an order by which a motion to vacate said judgment was denied.
[1] From the record herein it appears that the notice of motion to vacate the judgment contained no statement of the grounds thereof other than that it would be made "upon the grounds and for the reasons set forth in affidavit attached hereto". The essential facts stated in such affidavit were nearly all controverted by counter-affidavits. Nor was any affidavit of merits, or "copy of the answer", as provided by section 473 of the Code of Civil Procedure, presented by the defendant to the court in connection with the said motion. In such a situation, the trial court did not abuse its discretion in the premises. (County of Los Angeles v. Lewis, 179 Cal. 398 [177 P. 154];La Bonte  Ransom Co. v. Scellars, 90 Cal.App. 183
[265 P. 550]; Bailiff v. Hildebrandt, 47 Cal.App. 564
[191 P. 42].)
The judgment and the order from which the appeal is taken are affirmed.
  Conrey, P.J., and York, J., concurred. *Page 315 